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    5th Dewey Decl.
       Exhibit 3
Case 1:23-cv-01198-CJN Document 43-3 Filed 04/12/24 Page 2 of 5
                                                                         Ad




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   (https://www.the-express.com/news/us-news/125825/Trump-attorney-Alina-Habba-judge-theaten-jail)
    Judge threatens to jail Trump attorney Alina Habba




   (https://www.the-express.com/news/us-news/125825/Trump-attorney-Alina-Habba-judge-theaten-jail)
   (https://www.the-express.com/news/us-news/117616/Donald-Trump-comment-ivanka-trump-fraud-trial)
    Donald Trump's creepy comments about Ivanka as she's set to take stand in trial




   (https://www.the-express.com/news/us-news/117616/Donald-Trump-comment-ivanka-trump-fraud-trial)
   (https://www.healthyglam.net/these-beautiful-stars-have-aged-flawlessly-we-cant-get-over-their-lifetime-of-beauty)
    Dana Delany, 68, Shows Off Her Perfect Figure In A New Photo



    Healthy Glam
   (https://www.healthyglam.net/these-beautiful-stars-have-aged-flawlessly-we-cant-get-over-their-lifetime-of-beauty)
   (https://www.the-express.com/news/politics/133555/joe-biden-confused-teleprompter-gaffe-speech)
    'Confused' Biden calls himself 'O'Biden' before losing it with teleprompter




   (https://www.the-express.com/news/politics/133555/joe-biden-confused-teleprompter-gaffe-speech)
   (https://www.the-express.com/lifestyle/life/123308/barron-trump-christmas-photo-insider)
    Barron Trump has made a 'truly monumental' strategic move, former insider claims




   (https://www.the-express.com/lifestyle/life/123308/barron-trump-christmas-photo-insider)
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   Donald Trump tells 'unforgivable' Prince Harry
   'you're on your own' after betraying Queen
   WORLD EXCLUSIVE: The 45th US President Donald Trump lashed out at Prince Harry and branded him "unforgivable" for
   his repeated comments on his time in the Royal Family.




   Donald Trump speaking at CPAC (Image: Daily Express/Ian Vogler)



   Donald Trump (/latest/donald-trump) has told Daily Express US (/) that the Royal Family has been “too gracious” to Prince
   Harry (https://www.the-express.com/latest/prince-harry) and that he would not protect him like Joe Biden (https://www.the-
   express.com/latest/joe-biden) has done.

   The former President spoke exclusively to the Express at the CPAC conference in Washington DC as he prepared to wow
   thousands of conservatives from around America.

   His comments came 24 hours after Prince Harry (https://www.the-express.com/latest/prince-harry) had appeared in court over
   whether he had lied on his immigration papers to the US about his drug use which he confessed to in his book Spare. The legal
   challenge has been pursued by the Heritage Foundation in Washington DC and resisted by the Prince with the support of
CaseBiden's
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            Department of Homeland Security. Document 43-3 Filed 04/12/24 Page 3 of 5
     The row comes amid fury among Republicans over the "weaponization" of the legal system against Trump.

     Trump was furious at the Joe Biden (https://www.the-express.com/latest/joe-biden) administration for “protecting Harry” by
     keeping his immigration application confidential.

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      The Noodle Box                                                                                                                                                                                  Read More

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     READ MORE: Joe Biden warned covering up for Prince Harry 'unacceptable' as court day looms
     (/news/politics/128721/joe-biden-prince-harry-immigration-papers-us-visa)




     Donald Trump spoke to David Maddox (Image: EXPRESS)



     He said: “I wouldn’t protect him. He betrayed the Queen. That’s unforgiveable. He would be on his own if it was down to me.”

     He added: “I think they have been too gracious to him after what he has done.”

     The four-day Conservative Political Action Conference in Washington DC has this year become an extended Donald Trump
     (https://www.the-express.com/latest/donald-trump) rally as his nomination as Republican candidate is all but confirmed.

     Speakers including businessman Vivek Ramaswamy, possible Vice President nominee Kristi Noem and close allies including
     Nigel Farage had pushed the need for a Trump Presidency “as the last hope for the west before it is too late”.

     DON'T MISS
     Donald Trump super fans wait seven hours to see former president speak at CPAC (/news/politics/128968/donald-
     trump-fans-cpac-speech) [INSIGHT]
     MAGA fans rejoice at CPAC and demand Trump 'closes the border' (/news/politics/128799/maga-donald-trump-cpac-
     rock-concert-republicans) [ANALYSIS]
     Donald Trump HAS chosen his VP - and it is 'somebody nobody is talking about (/news/politics/128902/donald-trump-
     vice-president-mike-gallagher) [EXCLUSIVE]




     Trump was less than impressed with Prince Harry (Image: DX)
CaseTRENDING
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   And while the conference had been quiet compared to previous years, the final day saw massive queues begin early in the
   morning outside the Gaylord Convention Center to hear the former President speak.

   One person said how she had got up at 3am to hear Trump give his address on the state of America.

   Optimism is also high with Trump leading Biden in the polls.

   And many of the delegates gathered wore an array of patriot clothing with Trump hats, Make America Great Again caps, a
   Second Amendment Dress (in favour of the right to own guns), Stars and stripes outfits.

   The enthusiasm could be heard early on with chants throughout the line.



    DON'T MISS                                                                                                                          POWERED BY




    Mar-a-Lago guests ‘can't hear                                                                 Why has court rejected Donald                                    Joe Biden
    themselves talk' as Trump plays                                                               Trump's bond documents in New                                    over respo
    ‘same loud songs' every day                                                                   York civil fraud case?                                           him look w

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        a-lago-donald-trump-favorite-                                                              court-rejected-donald-trump-bond-  biden-bac
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      express.com)                                                                                (https://www.the-                                                  express.c
                                                                                                    express.com)


   And allies had been making it clear that Trump would come in with a plan to make massive changes within 24 hours of taking
   office.

   This includes hundreds of executive orders to roll back regulatory reforms brought in by Biden.

   He also intends to pardon the “political prisoners” of the January 6 insurrection on Capitol Hill.


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    Donald Trump (/latest/donald-trump)       Prince Harry (/latest/prince-harry)   CPAC (/latest/conservative-political-action-conference)
